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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION



KOSS CORPORATION,

              Plaintiff,                  Case No. 6:20-cv-00665-ADA

     v.

APPLE INC.,

              Defendant.




KOSS CORPORATION’S BRIEF FOR SANCTIONS PURSUANT TO FEDERAL RULE
 OF CIVIL PROCEDURE 37 AS A RESULT OF APPLE INC.’S ADMITTED VIOLA-
            TION OF FEDERAL RULE OF CIVIL PROCEDURE 26
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       Defendant Apple Inc.’s (“Apple”) first act in fact discovery in this case was to affirmatively

conceal its plain knowledge of how to contact Mr. Michael Pelland. Discovery opened on April

23, 2021; on that day, both Plaintiff Koss Corporation (“Koss”) and Apple served their Initial

Disclosures under Fed. R. Civ. P. 26(a)(1). Each party listed Mr. Pelland as possessing potentially

relevant information. Neither party included Mr. Pelland’s contact information. Koss’ disclosure

was truthful, but unbeknownst to Koss at the time, Apple’s was not. Apple has yet to supplement

its Rule 26 disclosures with information it admitted was in its possession at least two months ago.

       Apple failed to disclose the manner in which it not only could contact but did in fact contact

Mr. Pelland. In so doing, it prevented Koss from learning of substantial ongoing harm to Koss:

Mr. Pelland has been working on behalf of another defendant (Bose Corporation (“Bose”)) to

challenge the validity of patents on which he was a named inventor, using his own prior art.1

I.     LEGAL STANDARD

       Federal Rule of Civil Procedure 26(a)(1)(A)(i) requires a party to disclose, without waiting

for a discovery request, the name and, if known, the address and telephone number of each indi-

vidual likely to have discoverable information. Rule 26(e) requires a party to supplement its dis-

closures “in a timely manner if the party learns that in some material respect the disclosure or

response is incomplete or incorrect, and if the additional or corrective information has not other-

wise been made known to the other parties during the discovery process or in writing.”

       A party is “not allowed to use ... information or [a] witness to supply evidence on a motion,

at a hearing, or at a trial where that party ‘fails to provide information or identify a witness [in its

initial disclosures] as required by Rule 26(a) or (e).’” Bitterroot Holdings, L.L.C. v. MTGLQ


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 Mr. Pelland testified he spent over 200 hours of paid time working for Bose. Koss has reason to
believe that Mr. Pelland’s consulting work assisted Bose in using a published international patent
application naming Mr. Pelland as the lead inventor in Bose’s inter partes review Petitions (which
Apple has requested leave to join); plainly Mr. Pelland’s consulting played a role in these Petitions.


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Inv’rs, L.P., 648 F. App’x 414, 419 (5th Cir. 2016). However, the non-disclosing party is permitted

to use the information when “the failure was substantially justified or is harmless.” Joe Hand

Promotions, Inc. v. Chios, Inc., 544 F. App’x 444, 446 (5th Cir. 2013). A party facing sanctions

under Rule 37(c) has the burden of demonstrating that a violation of Rule 26 was substantially

justified or is harmless. Maguregui v. ADP, LLC, 2017 WL 5473484, at *2 (W.D. Tex. Apr. 10,

2017). “When evaluating whether a violation of Rule 26 is harmless, the Court looks to four fac-

tors: (1) the explanation for the failure to identify the witness; (2) the importance of the testimony;

(3) potential prejudice in allowing the testimony; and (4) the availability of a continuance to cure

such prejudice.” Flores v. AT&T Corp., 2019 WL 2746774, at *3 (W.D. Tex. Mar. 27, 2019).

II.    ARGUMENT

       A.      Apple Admits It Did Not Comply With Fed. R. Civ. P. 26

       Whether Apple violated Rule 26 is not in dispute. Apple’s counsel admitted, to this Court,

that despite knowing Mr. Pelland’s Bose affiliation and contact information, he flatly failed to

provide Koss with the requisite notice under Rule 26.2 Hr’g Tr. at 34:12–17. Even more egregious

is the fact that almost a year before the admitted violation, Apple made contact during an hour-

long telephone conversation with Mr. Pelland. Id. at 19:10–11. Despite having been a part of an

hour-long telephone conversation (which presumably included a meeting invitation/email address

for Mr. Pelland), Apple’s disclosures are silent about Mr. Pelland’s contact information.

       B.      Apple’s Unjustified Failure to Include Mr. Pelland’s Contact Information

       Apple’s only argument as to why it did not include Mr. Pelland’s contact information after

its December 2020 hour-long meeting is that it intentionally didn’t ask Mr. Pelland for his phone



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  Apple’s counsel withheld (and continues to withhold) the exact date on which it became aware
of Mr. Pelland’s address despite repeated requests, orally and in writing, until the day of the hear-
ing. Apple’s counsel’s submission pursuant to the Court’s OGP is thus knowingly false.


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number, email address, or physical address; somehow, Apple concludes this means it did not have

to disclose what it actually knew about how to contact Mr. Pelland in its initial disclosures. Hr’g

Tr. at 20:5–9. As noted during the hearing, this position lacks merit and shows the gamesmanship

in which Apple is engaging in general, and with respect to Mr. Pelland in particular. Hr’g Tr. at

41:1–9 (Apple disclosing outside counsel contact information for third-party witnesses beneficial

to Apple’s case).

       C.      Apple’s Failure to Disclose is Not Harmless

       Apple’s failure to comply with Rule 26 is far from harmless because (1) the explanation

for the failure to identify the witness is inadequate (as noted above); (2) the importance of the

testimony factor is indisputably in Koss’ favor; (3) Koss is severely prejudiced if testimony is

allowed; and (4) a continuance will not cure such prejudice; instead, it results in more prejudice.

               1.      The Testimony (or Lack Thereof) of Mr. Pelland is Important

       In this unique situation, the importance of the at-issue testimony lies in the work Mr. Pel-

land did (and the conversations that Bose used to pollute his brain) during Apple’s period of in-

tentional withholding. Mr. Pelland consulted with Bose for more than 200 hours between the time

Apple learned how to contact him and the time Apple finally put Koss on notice of his contact

information. This testimony about the ways in which Mr. Pelland’s recollection was refreshed

would not have gone the way it did but for that consulting; the importance of the testimony there-

fore lies in the changed nature it has from what it would have been had Koss known Mr. Pelland

was working with Bose in December 2020. Had Apple made Koss aware that Bose hired Mr.

Pelland as a consultant when discovery opened, Koss certainly would have subpoenaed Mr. Pel-

land, and likely would have taken the steps it is now taking in other Courts to redress Mr. Pelland’s

blatant and willful violation of his various agreements with Koss.

               2.      The Prejudice Is Severe and a Continuance Will Not Cure It


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       As noted above, the prejudice here lies in the fact that Mr. Pelland cannot unlearn what he

learned spending more than 200 hours consulting with Bose, a party that stands to lose millions

due to its ongoing, willful infringement of Koss’ patents. Nor can Apple unlearn what it knows

by way of communications with Bose’s counsel in this regard. Everything Mr. Pelland does or

says related to this case in the future will be against the backdrop of conversations he had with

counsel for a party trying to invalidate patents on which Mr. Pelland is a named inventor. Because

that harm cannot be undone, no continuance will rectify that harm. The only remedy that will

redress Apple’s discovery violation (and the attendant prevention of Koss from adequately enforc-

ing its contractual rights) is to prohibit Apple from relying on this ill-developed testimony.

       Continuance as a remedy will only exacerbate prejudice to Koss. This Court has already

continued at least some of the case deadlines due to Apple’s discovery misconduct (specifically,

usurping this Court’s role as evidentiary gatekeeper and prejudging issues in the case). (Dkt. Nos.

108, 116, 117). Further continuance will permit Mr. Pelland’s 200 hours of consulting to grow.

       D.      Granting Koss’ Request Does Not Create a Dangerous Standard

       The Court inquired whether Koss’ requested remedy risks an unworkable standard in this

District. Hr’g Tr. at 46:18–19; 47:5–8. It does not. Ruling in Koss’ favor will do just the opposite;

it will encourage counsel in the future to be forthright and comply with their discovery obligations,

as the Rules contemplate. Ruling in Koss’ favor will dissuade the disingenuous joint defense

“strawman” situation that Apple and Bose purposefully constructed to give Apple the opportunity

to claim ignorance when another defendant’s counsel retains a fact witness for “consulting pur-

poses” and facilitates discussions between the witness and defendant’s counsel.

       Other courts have ruled, consistent with Koss’ request, that withholding contact infor-

mation of a relevant witness is a violation of Rule 26 warranting the very relief Koss seeks: exclu-

sion of the hidden discovery. Lewter v. United States, 2012 WL 13034849 at *8–9 (S.D.C.A.


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2012) (quoting Dayton Valley Investors, LLC v. Union Pac. R.R., 2010 WL 3829219, at *3 (D.

Nev. 2010) (withholding witness contact information until near close of discovery is untimely and

warrants Rule 37 sanctions); United States v. Hopkins, 2012 WL 7829995, at *5 (D.N.M. Dec. 28,

2012), R&R adopted, 2013 WL 684650 (D.N.M. Feb. 11, 2013) (failure to provide contact infor-

mation for individuals known to have discoverable information in initial disclosures not substan-

tially justified); Covad Commc’ns Co. v. Revonet, Inc., 267 F.R.D. 14, 22 (D.D.C. 2010) (same).

       Apple violated the Federal Rules of Civil Procedure and Koss deserves a proper remedy.

Pers. Audio, LLC v. Apple, Inc., No. 9:09CV111, 2011 WL 6148587, at *2 (E.D. Tex. June 16,

2011) (citing B.F. Goodrich Tire Co. v. Lyster, 328 F.2d 411, 415 (5th Cir. 1964) (“Rule 37 ‘es-

tablish[es] a flexible means by which a court may enforce compliance with the Federal discovery

procedures through a broad choice of remedies and penalties.’”)). A narrowly tailored order can

appropriately sanction Apple and incentivize attorneys practicing before this Court to be forthright

in Rule 26 disclosures. Id. (citing Roadway Express, Inc. v. Piper, 447 U.S. 752, 763–64 (1980).

III.   CONCLUSION

       This Court should preclude Apple from relying on Mr. Pelland’s ill-gotten testimony and

impose monetary sanctions regarding the same. Koss simply asks this Court to ensure that a party

may not deceive the Court by making contact with a potential witness before discovery even starts

while not having to disclose the known contact information that facilitates the conversation, be-

cause the witness conveniently did not blurt out his telephone number and address. Denying Koss’

requested relief will have the effect of blessing a strategy where outside counsel for another inter-

ested party retains a witness as a consultant, facilitates a conversation under the cloak of common-

interest privilege, and permits the party to the conversation to hide contact information even though

that party has announced in its initial disclosures that this person is a witness it expects to call at

trial. Such an absurd result cannot stand.


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Dated: December 10, 2021                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on December 10, 2021, a true and correct copy of

this document was served on all counsel of record who have consented to electronic service via

the Court’s CM/ECF system.

                                                    /s/ Darlene F. Ghavimi
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